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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                        )
 CENTRE GMBH and WEST PUBLISHING                   )
 CORPORATION,                                      )   C.A. No. 20-613-LPS
                                                   )
                   Plaintiffs/Counterdefendants,   )   JURY TRIAL DEMANDED
                                                   )
         v.                                        )
                                                   )
 ROSS INTELLIGENCE INC.,                           )
                                                   )
                   Defendants/Counterclaimant.     )


                                  NOTICE OF WITHDRAWAL

        PLEASE TAKE NOTICE that Stephanie E. O’Byrne, formerly of Potter Anderson &

Corroon LLP, 1313 N. Market Street, 6th Floor, DE 19801, hereby withdraws her appearance as

counsel for Defendant/Counterclaimant ROSS Intelligence, Inc. All other counsel of record for

Defendant remain in this case.

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